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       PSJ4 SOL Opp Exh 23
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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION                            MDL No. 2804
OPIATE LITIGATION
                                                       Case No. 17-md-2804
This document relates to:
County of Cuyahoga, et al. v. Purdue Pharma L.P., et   Judge Dan Aaron Polster
al., Case No. 17-OP-45004

                           CUYAHOGA COUNTY’S
             AMENDED SUPPLEMENTAL RESPONSE AND OBJECTIONS TO
                PHARMACY DEFENDANTS’ INTERROGATORY No. 6

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Case

Management Order in In re National Prescription Opiate Litigation, No. 1:17-cv-2804 (Dkt. No. 232),

Cuyahoga County (“Plaintiff”) hereby provide its supplemental response and objections to

Pharmacy Defendants’ Interrogatory No. 6, as follows:


                                              OBJECTIONS

        The following objections apply to each Interrogatory. To the extent that certain specific

objections are cited in response to an individual Interrogatory, those specific objections are provided

because they are applicable to that specific Interrogatory and are not a waiver of the other objections

applicable to information falling within the scope of such Interrogatory.

        1.       Plaintiff objects to each Interrogatory to the extent they are overly broad, vague,

unduly burdensome, seek information that is not relevant to any party’s claim or defense, or seek to

impose obligations or require actions beyond those required by the Rules of Civil Procedure, the

ESI Protocol entered in this matter or the Local Rules of the United States District Court of the

Northern District of Ohio.
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        2.      Plaintiff objects to each Interrogatory to the extent they seek information restricted

from dissemination pursuant to court order, statute, or regulation. Further, any response made by

Plaintiff to the Interrogatories is not intended to waive, and does not constitute any waiver of, any

objection to the admissibility, authenticity, competency or relevance of the information produced or

identified.

        3.      These responses are made solely for the purpose of and in relation to this action.

Each answer is given subject to all appropriate objections, which would require the exclusion at trial

of any statement contained or document provided herein. All such objections and the grounds

therefore are hereby reserved.

        4.      No admission of any nature whatsoever is to be implied or inferred in these

responses. The fact that any of the Interrogatories herein may have been answered should not be

taken as an admission or a concession of the existence of any facts set forth or assumed by the

Interrogatories, or that such answer constitutes evidence of any fact thus set forth or assumed.

        5.      Plaintiff objects to each Interrogatory to the extent Plaintiff has not yet completed its

investigation of the facts relating to this action and has not yet completed its preparation for trial.

Accordingly, these responses are necessarily limited in nature, and reflect only that information

known to Plaintiff at this time.

        6.      Plaintiff objects to each Interrogatory to the extent they purport to require Plaintiff

to produce documents that are in the public domain or otherwise available to Distributors as easily

from other sources as from Plaintiff.

        7.      Plaintiff objects to each Interrogatory to the extent they purport to state facts,

assumptions, or characterizations that are disputed.



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        8.      Plaintiff objects to each Interrogatory to the extent they seek information more

appropriately obtained through other methods of discovery.

        9.      Plaintiff objects to each Interrogatory to the extent that they seek information that is

proprietary or confidential or that is protected from discovery as attorney work product and

attorney-client communication, information gathered or prepared in anticipation of litigation, the

public interest privilege, law enforcement privilege, public official privilege, and/or by any other

privilege or immunity from disclosure (collectively, “Privileged Information”).

        10.     Plaintiff objects to each Interrogatory to the extent they seek confidential

investigative, personal, or health information in Plaintiff’s possession, custody, or control

(collectively, “Confidential Information”).

        11.     Whenever in the responses Plaintiff employs the phrase “subject to and without

waiving all objections,” Plaintiff is responding to the Interrogatory as it may be narrowed by its

general and specific objections and without waiver of any objection.

        12.     Any response stating that Plaintiff will produce documents shall be deemed followed

by the phrase “as are within Plaintiff’s possession, custody, or control.”

        13.     Plaintiff objects to each Interrogatory to the extent that they imply the existence of

facts or circumstances that do not or did not exist, and to the extent that it states or assumes legal

conclusions. In providing these objections and responses, Plaintiff does not admit the factual or

legal premise of any Interrogatory.

        14.     Plaintiff objects to each Interrogatory to the extent they seek information that is not

within Plaintiff’s possession, custody, or control, seek documents that do not already exist, or which

purport to require a response by Plaintiff on behalf of an entity or individual other than Plaintiff.



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        15.     Plaintiff reserves the right to supplement, revise, correct, or clarify its responses and

objections in the event that additional information becomes available.

        16.     Plaintiff intends to complete its responses by the time agreed upon by the parties for

the completion of discovery, or by the date ordered by the Court. Upon request by the requesting

party, Plaintiff is willing to meet and confer regarding its responses to the Interrogatories. All final

decisions regarding whether any information will be withheld pursuant to any objection shall be

made, and notice thereof provided, before the completion of written discovery.

        17.     Plaintiff objects to the Distributors’ instruction that: “Each Plaintiff must

individually respond to each of these Interrogatories.” No federal rule prevents Plaintiff from

submitting collective answers to Distributors’ collective Interrogatories. Where the responses and

objections to these Interrogatories are the same for each Plaintiff, a collective response herein will in

no way prejudice Defendants. In each instance where the answers are not the same for each

Plaintiff, any differences have been set forth herein with particularity.


                                           NON-WAIVER

        1.      Plaintiff’s responses are made without waiving its right to object (on the grounds of

relevancy, hearsay, materiality, competency or any other ground) to the use of its responses in any

subsequent stage or proceeding in this Action or any other action.

        2.      If Plaintiff, in response to any Interrogatory, inadvertently produces information that

is or could be the subject of objections stated herein, such information is not intended to be, nor is

it deemed to be, a waiver of the objections with respect to such information produced or withheld.

        3.      Plaintiff’s failure to object to a specific Interrogatory on a particular ground or

grounds shall not be construed as a waiver of its rights to object on any additional grounds.


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        4.       Plaintiff responds herein based upon information it has been reasonably able to

gather at the time of making these responses. Plaintiff reserves its right to amend and/or to

supplement its objections and responses to the Interrogatories, consistent with further investigation

and discovery.

                              SPECIFIC RESPONSES AND OBJECTIONS

Interrogatory No. 6:

    Identify each person employed by or associated with You, or whom You compensated, who

possessed an account with OARRS, or otherwise had access to information on OARRS, during

the Relevant Time Period. This includes but is not limited to all OARRS Supervisors and OARRS

Officers for each of Your agencies that had access to OARRS. For each such person, state when

access was first obtained and, if applicable, discontinued.

Response to Interrogatory No. 6:

    Plaintiff objects to this Interrogatory as to the vast over breadth of “each person employed by or

associated with You,” or “whom You compensated,” “who possessed an account with OARRS,”

“who otherwise had access to information on OARRS,” when obtained and when/if discontinued.

Plaintiff further objects in that the requested information is in the possession of a third party.

    Subject to and without waiving all objections, Plaintiff answers as follows: The Automated Rx

Reporting System (OARRS) is governed by section 4729.80 of the Ohio Revised Code. This statute

provides specific and strict criteria for when someone may access OARRS information; access to

OARRS for a particular and specific reason does not give the individual unfettered use of the

database. For example, (1) a law enforcement officer may request an Rx history report on an

individual only if there is an active investigation of the individual and the investigation involves a

drug abuse offense as defined in O.R.C. Section 2925.01; (2) a medical examiner may be authorized

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to obtain information in conducting a death investigation on a particular individual, but he or she is

not permitted to run a report on any anyone who may be associated with the investigation (such as a

family member, friend, etc.); (3) a physician/prescriber may be authorized to request an OARRS

report on a current patient who has made an appointment for an initial visit and has been referred to

the practice; and (4) a probation or parole officer may be authorized to request an OARRS report

on an individual only if the officer is currently investigating (pre-sentence) or the officer is

monitoring the individual in relation to a drug abuse offense. Accordingly, the fact that a physician,

examiner, or law enforcement officer has an account and access to OARRS cannot be construed to

insinuate that the individual has unfettered access to the OARRS database or is free to use the

information outside its statutorily defined purpose because Ohio law strictly prohibits the use of the

OARRS database outside the statute’s criteria. The use and dissemination of an OARRS report is

strictly protected because it contains confidential protected health information and violations of

OARRS policies and guidelines may carry criminal and/or civil penalties. The information provided

to OARRS and access to OARRS has evolved over the years.

    Subject to and without waiving the foregoing objections, below is the list of individuals who

possessed an account with OARRS or otherwise had access to information on OARRS during the

Relevant Time Period:

First Name                  Last Name                   Date Conditional Access First Obtained

Renee                       Allison                     February 15, 2019
Jessica                     Amos                        October 7, 2009
                                                        Discontinued on August 8, 2013
Mikki                       Anderson                    February 2, 2018
Erica                       Barnhill                    March 14, 2018
Manreet                     Bhullar                     June 22, 2018
Gary                        Bolinger                    October 7, 2009


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First Name           Last Name             Date Conditional Access First Obtained

Miguel               Caraballo             September 19, 2012
                                           Discontinued on April 9, 2013
Camille              Croft                 November 19, 2018
Robert               DeSimone              November 28, 2006
Marcus               Effner                March 17, 2017
Brian                Ely                   November 3, 2009
                                           Discontinued on January 31, 2013
William              Evans                 July 24, 2015
Omer                 Farhat                August 29, 2018
Rachel               Fettinger             September 25, 2017
Alexandra            Gatz                  June 16, 2015
Stephanie            Gilliasd              July 17, 2017
Thomas               Gilson                May 24, 2013
John                 Gioitta               March 9, 2018
Celeste              Hodous                June 6, 2013
Michael              Jackson               April 18, 2017
                                           Discontinued on March 11, 2013
Lydia                Johnston              April 25, 2019
Claire               Kaspar                June 5, 2013
Bill                 Kavourias             February 8, 2018
                                           Discontinued on August 8, 2018
Molly                Krueger               July 27, 2015
Amanda               LaBanc                September 16, 2014
David                Lisy                  April 18, 2017
Darlene              Louth                 July 15, 2011
                                           Discontinued on September 13, 2016
Carrianne            Mahoney               May 2, 2017
Marisa               Mastrangelo           March 20, 2017
Wendy                McWilliam             February 25, 2019
Jennifer             Moody-Davis           August 5, 2013
                                           Discontinued on March 16, 2017
Elizabeth            Mooney                March 22, 2017
Katherine            Noahr                 May 5, 2016
Colin                O’Connor              August 8, 2018
Cheryl               Parker                August 15, 2017
                                           Discontinued on February 15, 2018

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First Name                Last Name                  Date Conditional Access First Obtained

Julie                     Piotrowski                 April 20, 2017
Anna                      Rokhlina                   November 5, 2012
Lyndsy                    Roser                      October 7, 2009
Louis                     Scibelli                   January 29, 2013
Hugh                      Shannon                    August 25, 2014
Kelli                     Summers                    March 7, 2017
Kerrie                    Tiller                     September 9, 2016


   Plaintiff reserves the right to supplement, modify or amend this response.




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 Dated: July 26, 2019
                                            Respectfully submitted,
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                                 CERTIFICATE OF SERVICE


   I, Salvatore C. Badala, certify that on this 26th day of July 2019, I caused the foregoing to be

served via electronic mail on Defendant’s Liaison Counsel pursuant to the Case Management Order.

See Dkt. No. 232.

                                                       s/Salvatore C. Badala




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